     Case 2:19-cv-00098-MHT-GMB Document 11 Filed 02/22/19 Page 1 of 3



                              UNITED STATES DISTRICT COURT               `;:tECEIVED
                               MIDDLE DISTRICT OF ALABAMA
                                   NORTHERN DIVISION
                                                                         7i119 FEB 22 P 1: 1

 GAVIN McINNES,                                             CIVIL Ad      9.1i1 YdECTLIT6W
                                                           2:19-cv-98-MtIPMASTRICT At
                                     Plaintiff,

                     - VS.-


 SOUTHERN POVERTY LAW CENTER,
 INC.,

                                   Defendant.


                   ATTORNEY LAUREN X. TOPELSOHN'S MOTION
                        FOR ADMISSION PRO HAC VICE

       1.      I, LAUREN X. TOPELSOHN,an active member in good standing of the bars of

New York and New Jersey, hereby respectfully apply for admission to practice pro hac vice in

the Middle District of Alabama, Northern Division, representing the Plaintiff, Gavin McInnes, in

the above-entitled action. My local co-counsel in this case is George Baron Coleman, an attorney

who is a member of the bar of this Court in good standing and who maintains an office within

the Alabama.

       2.      My address of record, telephone number, and email address are:

               Mandelbaum Salsburg, P.C.
               1270 Avenue of the Americas — Suite 1808
               New York, NY 10020
               ltopelsohn@lawfirm.ms
               212-776-1834

       3.      My local counsel's address of record, telephone number, and email address are:

               Baron Coleman Law Firm
               PO Box 789
               Montgomery, Alabama 36101-0789
               (334)625-9097
               baroncoleman@gmail.com

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       Case 2:19-cv-00098-MHT-GMB Document 11 Filed 02/22/19 Page 2 of 3




            4.   I am an active member in good standing of the bars of the State of New Jersey

and New York and of the United States district courts for the Districts of New Jersey and

Southern and Eastern Districts of New York. My New Jersey bar number is 031991992 and my

New York bar number is 2482420.

            5.   An original certificate of good standing from the United States District Court for

the District of New Jersey, which is the district in which I reside, is attached to this application.

            6.   I agree to familiarize myself with, and abide by, the Local Rules of this Court.

            7.   I declare under penalty of perjury that the foregoing is true and correct.

Respectfully submitted on this the 22"d day of February, 2019.




                                                       Lauren X. Topelsohn




                                                       G. Bar
                                                       Alab      Bar No. ASB 9562-067C

                                                       BARON COLEMAN LAW FIRM
                                                       PO Box 789
                                                       Montgomery AL 36101-0789
                                                       baroncoleman@gmail.com
                                                       334-625-9097

                                                       RONALD D. COLEMAN (pro hac vice
                                                           admission pending)
                                                       LAUREN X. TOPELSOHN (pro hac vice
                                                           admission pending)
                                                       MANDELBAUM SALSBURG PC
                                                       1270 Avenue of the Americas — Suite 1808
                                                       New York, NY 10020
                                                       rcoleman@lawfirm.ms
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                                                       212-776-1834



# 1601179
        Case 2:19-cv-00098-MHT-GMB Document 11 Filed 02/22/19 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2019; I will place a true and correct copy of the
foregoing in the US Mail, postage pre-paid, to the following:

Robert D. Segall
Shannon Holliday
Copeland, Franco, Screws & Gill, P.A.
P.O. Box 347
Montgomery, AL 36101-0347




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